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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Adam P. Thursby, Esq. (SBN 318465)
 Kristin A. Zilberstein (SBN 200041)
 Jennifer R. Bergh, Esq. (SBN 305219)
 LAW OFFICES OF MICHELLE GHIDOTTI
 1920 Old Tustin Ave.
 Santa Ana, CA 92705
 Ph: (949) 427-2010
 Fax: (949) 427-2732
 kzilberstein@ghidottilaw.com




     Movant appearing without an attorney
     Attorney for Movant

                                            UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 2:16-bk-23131-NB
 Maria Eva Martinez                                                          CHAPTER: 13

                                                                                      NOTICE OF MOTION AND MOTION
                                                                                     FOR RELIEF FROM THE AUTOMATIC
                                                                                        STAY UNDER 11 U.S.C. § 362
                                                                                       (with supporting declarations)
                                                                                             (REAL PROPERTY)

                                                                             DATE:11/27/2018
                                                                             TIME: 10:00 a.m.

                                                               Debtor(s).    COURTROOM: 1545

 Movant: US Bank Trust National Association as trustee of the Bungalow Series F Trust



1. Hearing Location:
          255 East Temple Street, Los Angeles, CA 90012                                   411 West Fourth Street, Santa Ana, CA 92701
          21041 Burbank Boulevard, Woodland Hills, CA 91367                               1415 State Street, Santa Barbara, CA 93101
          3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.



          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 10/24/2018                                                             The Law Offices of Michelle Ghidotti
                                                                                  Printed name of law firm (if applicable)

                                                                                  Kristin A. Zilberstein
                                                                                  Printed name of individual Movant or attorney for Movant



                                                                                  /s/ Kristin A. Zilberstein
                                                                                  _____________________________________________
                                                                                  Signature of individual Movant or attorney for Movant




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             MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY
1. Movant is the:
           Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
           the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
         x Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
           mortgage or deed of trust) or (2) is the assignee of the beneficiary.
           Servicing agent authorized to act on behalf of the Holder or Beneficiary.
           Other (specify):


2. The Property at Issue (Property):

    a. Address:

          Street address: 10106 South Inglewood Avenue
          Unit/suite number:
          City, state, zip code: Inglewood Area, CA 90304

    b. Legal description, or document recording number (including county of recording), as set forth in Movant’s deed of
       trust (attached as Exhibit 1   ):

3. Bankruptcy Case History:

    a. A     voluntary     involuntary bankruptcy petition under chapter                           7       11        12       13
       was filed on (date) 10/4/16     .

    b.          An order to convert this case to chapter               7       11       12        13 was entered on (date)                    .
    c.          A plan, if any, was confirmed on (date) 2/16/17                  .

4. Grounds for Relief from Stay:

    a.          Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
          (1)         Movant’s interest in the Property is not adequately protected.
                (A)       Movant’s interest in the Property is not protected by an adequate equity cushion.
                (B)       The fair market value of the Property is declining and payments are not being made to Movant
                          sufficient to protect Movant’s interest against that decline.
                (C)       Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                          obligation to insure the collateral under the terms of Movant’s contract with the Debtor.
          (2)         The bankruptcy case was filed in bad faith.
                (A)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                          commencement documents.
                (B)       The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
                (C)       A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                          filing this bankruptcy case.
                (D)       Other bankruptcy cases have been filed in which an interest in the Property was asserted.
                (E)       The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                          and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
                (F)       Other (see attached continuation page).


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          (3)         (Chapter 12 or 13 cases only)
                (A)       All payments on account of the Property are being made through the plan.
                              Preconfirmation      Postconfirmation plan payments have not been made to the chapter 12
                          trustee or chapter 13 trustee.

                (B)       Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                          been made to Movant.
          (4)         The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.

          (5)         The Movant regained possession of the Property on (date)                                   ,
                      which is    prepetition   postpetition.

          (6)         For other cause for relief from stay, see attached continuation page.

     b.         Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
                § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

     c.         Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
                30 days after the court determined that the Property qualifies as “single asset real estate” as defined in
                11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.

     d.         Pursuant to 11 U.S.C. § 362(d)(4), the Debtor’s filing of the bankruptcy petition was part of a scheme to delay,
                hinder, or defraud creditors that involved:
          (1)         The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                      court approval; or
          (2)         Multiple bankruptcy cases affecting the Property.

5.        Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.         These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                been entitled to relief from the stay to proceed with these actions.

     b.         Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _____.

     c.         Other (specify):



6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
   motion)
     a. The REAL PROPERTY DECLARATION on page 6 of this motion.
     b.         Supplemental declaration(s).
     c.         The statements made by Debtor under penalty of perjury concerning Movant’s claims and the Property as set
                forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the case
                commencement documents are attached as Exhibit 5        .
     d.         Other:
                Deed of Trust as exhibit 1, Note as exhibit 2, all assignments as exhibit 3, payment history as exhibit 4


7.        An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1. Relief from the stay is granted under:                11 U.S.C. § 362(d)(1)             11 U.S.C. § 362(d)(2)             11 U.S.C. § 362(d)(3).

2.       Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
         remedies to foreclose upon and obtain possession of the Property.

3.       Movant, or its agents, may, at its option, offer, provide and enter into a potential forebearance agreement, loan
         modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
         servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement. Any
         such agreement shall be nonrecourse unless stated in a reaffirmation agreement.

4.       Confirmation that there is no stay in effect.

5.       The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
         enforce its remedies regarding the Property shall not constitute a violation of the stay.

6.       The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
         the same terms and conditions as to the Debtor.

7.       The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

8.       A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
         of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
             without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
             compliance with applicable nonbankruptcy law.

 .       Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
         governing notices of interests or liens in real property, the order is binding in any other case under this title
         purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
         except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
         circumstances or for good cause shown, after notice and hearing.

10.      The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
         interest in the Property for a period of 180 days from the hearing of this Motion:
              without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
              compliance with applicable nonbankruptcy law.

11.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
              without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
              compliance with applicable nonbankruptcy law.

12.      Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
         Code § 2920.5(c)(2)(C).
13.      If relief from stay is not granted, adequate protection shall be ordered.

14.      See attached continuation page for other relief requested.

      Date: 10/24/2018                                                            The Law Offices of Michelle Ghidotti
                                                                                 Printed name of law firm (if applicable)
                                                                                 Kristin A. Zilberstein
                                                                                 Printed name of individual Movant or attorney for Movant
                                                                                 /s/ Kristin A. Zilberstein
                                                                                 Signature of individual Movant or attorney for Movant

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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1920 Old Tustin Ave.
Santa Ana, CA 92705

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 10/24/2018 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Debtor's Counsel: Stephen S Smyth, office@smythlo.com;r58723@notify.bestcase.com
Debtor's Counsel: William J Smyth, office@smythlo.com, williamsmyth@gmail.com
U.S. Trustee: United States Trustee (LA), ustpregion16.la.ecf@usdoj.gov



                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/24/2018 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Debtor: Maria Eva Martinez, 10106 S. Inglewood Avenue, Inglewood, CA 90304 (U.S. Mail)
Judge: Honorable Neil W. Bason, 255 E. Temple Street, Suite 1552, Los Angeles, CA 90012 (U.S. Mail)




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 10/24/2018                    Jeremy Romero                                          /s/ Jeremy Romero
 Date                          Printed Name                                                  Signature


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                                                                                                                    Payment Changes
                                                                         Date                     P&I                  Escrow       Total                     Notice Filed
                                                                                 4/1/2017               $1,480.89          $213.30        $1,694.19           Filed w/ POC
                                                                                                                                                              NOPC




                      Loan Information
Loan #
Borrower                  RED
                          Martinez
BK Case #                 16-23131
Date Filed
                          ACT
                          10/4/2016
First Post Petition       ED
Due Date                  11/1/2016
POC Covers                9/1/13 - 10/1/16      POC not filed but trustee is paying arrears

         Date                     Amount Rcvd      Post Pet Due Date       Contractual Due Date         Amt Due         Over/Short     Suspense Credit         Suspense Debit  Suspense Balance  POC Arrears Credit   POC Debit       POC Suspense Balance POC Paid to Date    Comments
                                                                                                                              $0.00                                                        $0.00                                                      $0.00            $0.00
           1/12/2017               $1,700.00                                                                              $1,700.00            $1,700.00                               $1,700.00                                                      $0.00            $0.00
           1/20/2017               $1,700.00                                                                              $1,700.00            $1,700.00                               $3,400.00                                                      $0.00            $0.00
           1/30/2017                                 11/1/2016                   9/1/2013               $1,659.81        -$1,659.81                                  $3,319.62            $80.38                                                      $0.00            $0.00
           1/30/2017                                 12/1/2016                  10/1/2013               $1,659.81        -$1,659.81                                                       $80.38                                                      $0.00            $0.00
           2/13/2017               $1,700.00          1/1/2017                  11/1/2013               $1,659.81            $40.19               $40.19                                 $120.57                                                      $0.00            $0.00
            3/9/2017               $1,700.00          2/1/2017                  12/1/2013               $1,659.81            $40.19               $40.19                                 $160.76                                                      $0.00            $0.00
           3/23/2017                              Trustee Payment                                                             $0.00                                                      $160.76            $783.92                                 $783.92         $783.92
           4/10/2017               $1,700.00          3/1/2017                   1/1/2014               $1,659.81            $40.19               $40.19                                 $200.95                                                    $783.92         $783.92
           4/24/2017                              Trustee Payment                                                             $0.00                                                      $200.95          $1,199.70                               $1,983.62       $1,983.62
           4/25/2017                             PRE-Petition Applied            2/1/2014                                     $0.00                                                      $200.95                          $1,659.81                 $323.81       $1,983.62
           5/11/2017               $1,700.00          4/1/2017                   3/1/2014               $1,694.19             $5.81                   $5.81                              $206.76                                                    $323.81       $1,983.62
           5/22/2017                              Trustee Payment                                                             $0.00                                                      $206.76          $1,199.70                               $1,523.51       $3,183.32
           7/11/2017               $1,700.00          5/1/2017                   4/1/2014               $1,694.19             $5.81                   $5.81                              $212.57                                                  $1,523.51       $3,183.32
           7/13/2017               $1,700.00          6/1/2017                   5/1/2014               $1,694.19                                     $5.81                              $218.38                                                  $1,523.51       $3,183.32
           7/13/2017                              Trustee Payment                                                              $0.00                                                     $218.38          $1,199.70                               $2,723.21       $4,383.02
           7/13/2017                             PRE-Petition Applied            6/1/2014                                      $0.00                                                     $218.38                          $1,649.19               $1,074.02       $4,383.02
           7/18/2017                              Trustee Payment                                                              $0.00                                                     $218.38          $1,199.70                               $2,273.72       $5,582.72
           7/18/2017                             PRE-Petition Applied            7/1/2014                                      $0.00                                                     $218.38                          $1,649.19                 $624.53       $5,582.72
           8/16/2017               $1,700.00          7/1/2017                   8/1/2014               $1,694.19              $5.81                  $5.81                              $224.19                                                    $624.53       $5,582.72
           8/24/2017               $1,199.70                                                                               $1,199.70                                                     $224.19          $1,199.70                               $1,824.23       $6,782.42
           8/24/2017                             PRE-Petition Applied           9/1/2014                                       $0.00                                                     $224.19                          $1,649.19                 $175.04       $6,782.42
           9/18/2017               $1,700.00          8/1/2017                  10/1/2014               $1,694.19              $5.81                  $5.81                              $230.00                                                    $175.04       $6,782.42
           9/18/2017                                                                                                           $0.00                                                     $230.00                                                    $175.04       $6,782.42
          10/17/2017               $1,700.00           9/1/2017                 11/1/2014               $1,694.19              $5.81               $5.81                                 $235.81                                                    $175.04       $6,782.42
          12/12/2017               $1,700.00                                                            $1,649.19             $50.81           $1,700.00                               $1,935.81                                                    $175.04       $6,782.42
          12/26/2017                                 10/1/2017                  12/1/2014                                      $0.00                                 $1,700.00           $235.81                                                    $175.04       $6,782.42
           1/31/2018                              Trustee Payment                                                              $0.00                                                     $235.81          $5,934.00                               $6,109.04      $12,716.42
           1/31/2018                             PRE-Petition Applied                                                          $0.00                                                     $235.81                          $1,649.19               $4,459.85      $12,716.42
           1/31/2018                             PRE-Petition Applied                                                          $0.00                                                     $235.81                          $1,649.19               $2,810.66      $12,716.42
           1/31/2018                             PRE-Petition Applied                                                          $0.00                                                     $235.81                          $1,649.19               $1,161.47      $12,716.42
           3/22/2018                              Trustee Payment                                                              $0.00                                                     $235.81          $1,186.00                               $2,347.47      $13,902.42
           3/22/2018                             PRE-Petition Applied            1/1/2015                                      $0.00                                                     $235.81                          $1,649.19                 $698.28      $13,902.42
            4/5/2018                              Trustee Payment                                                              $0.00                                                     $235.81          $1,186.80                               $1,885.08      $15,089.22
            4/5/2018                             PRE-Petition Applied            2/1/2015                                      $0.00                                                     $235.81                          $1,649.19                 $235.89      $15,089.22
           4/24/2018                              Trustee Payment                                                              $0.00                                                     $235.81          $1,186.00                               $1,421.89      $16,275.22
           4/24/2018                             PRE-Petition Applied            3/1/2015                                      $0.00                                                     $235.81                          $1,649.19                -$227.30      $16,275.22
           5/15/2018               $1,700.00         12/1/2017                   4/1/2015               $1,649.19             $50.81              $50.81                                 $286.62                                                   -$227.30      $16,275.22
           6/26/2018                              Trustee Payment                                                              $0.00                                                     $286.62          $1,186.80                                 $959.50      $17,462.02
           6/26/2018                             PRE-Petition Applied            5/1/2015                                      $0.00                                                     $286.62                          $1,680.81                -$721.31      $17,462.02
           6/26/2018                             PRE-Petition Applied            6/1/2015                                      $0.00                                                     $286.62                          $1,680.81              -$2,402.12      $17,462.02
           6/26/2018                             PRE-Petition Applied            7/1/2015                                      $0.00                                                     $286.62                          $1,680.81              -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
                                                                                                                               $0.00                                                     $286.62                                                 -$4,082.93      $17,462.02
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  EXHIBIT “5”
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                                                                  41
 Fill in this information to identify your case and this filing:

 Debtor 1                    Maria Eva Martinez
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        10106 S. Inglewood Avenue                                                      Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Inglewood                         CA        90304-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $396,000.00                $396,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Community
        Los Angeles                                                                    Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $396,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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                                                                 41
 Debtor 1        Maria Eva Martinez                                                                                 Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Nissan                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Quest                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1991                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                190,000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Fair Condition
                                                                     Check if this is community property                                $1,000.00                  $1,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $1,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household Goods                                                                                                                 $4,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1          Maria Eva Martinez                                                                                         Case number (if known)

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Clothing                                                                                                                  $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Jewelry                                                                                                                 $3,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $8,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking Account                        JP Morgan Chase Bank                                              $1,000.00



                                              17.2.       Checking Account                        Wells Fargo Bank                                                    $500.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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 Debtor 1         Maria Eva Martinez                                                                          Case number (if known)

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..


Official Form 106A/B                                                   Schedule A/B: Property                                                                page 4
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 Debtor 1        Maria Eva Martinez                                                                                              Case number (if known)

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                             Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $1,500.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 5
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 Debtor 1         Maria Eva Martinez                                                                                                    Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $396,000.00
 56. Part 2: Total vehicles, line 5                                                                             $1,000.00
 57. Part 3: Total personal and household items, line 15                                                        $8,000.00
 58. Part 4: Total financial assets, line 36                                                                    $1,500.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $10,500.00              Copy personal property total       $10,500.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $406,500.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 6
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                                                                  41
 Fill in this information to identify your case:

 Debtor 1                   Maria Eva Martinez
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Seterus, Inc.                            Describe the property that secures the claim:               $274,273.21               $396,000.00                     $0.00
         Creditor's Name                          10106 S. Inglewood Avenue
                                                  Inglewood, CA 90304 Los Angeles
                                                  County
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 1077                            apply.
         Hartford, CT 06143-1077                      Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   1st Trust Deed
       community debt

 Date debt was incurred                                    Last 4 digits of account number        3578


   Add the dollar value of your entries in Column A on this page. Write that number here:                               $274,273.21
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $274,273.21

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
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